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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
J.C.,                                                            22 Civ. 323 (KPF)

                                             Plaintiff,
                      - against -                              NOTICE OF CROSS-
                                                               MOTION TO
                                                               WITHDRAW

ROBERT ALLEN ZIMMERMAN a/k/a
BOB DYLAN,

                                              Defendant.
-------------------------------------------------------------x

       PLEASE TAKE NOTICE that pursuant to Local Rule 1.4 Daniel W.
Isaacs and Peter J. Gleason hereby cross-move for leave to withdraw as
counsel for Plaintiff and submit in support of this cross-motion the following
papers in support: the accompanying affirmation of Daniel W. Isaacs, dated
November 18, 2022; the supporting memorandum of law, dated November
18, 2022; the sealed transcript of proceedings before the Court on July 28,
2022; the Court’s endorsed Order, entered on the docket as ECF Doc. # 46,
and the prior proceedings had herein.

Dated: November 18, 2022
                                                     Nathaniel B. Smith
                                                     225 Broadway – Suite 1901
                                                     New York, New York 10007
                                                     212-227-7062
                                                     natbsmith@gmail.com
                                                     Attorney for Daniel W. Isaacs,
                                                           and Peter J. Gleason

TO:

All Counsel (Via ECF)

Plaintiff (Via Email)
